Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 1 of 23



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FT. LAUDERDALE DIVISION


  GLENN BROSNICK,                              CASE NO.:       18-cv-60645

         Plaintiff,

  vs.

  WELLS FARGO BANK, N.A.


         Defendant

  __________________________/

                                           COMPLAINT

         COMES NOW, the Plaintiff, Glenn Brosnick (“Plaintiff or Brosnick”), by and through

  undersigned counsel, and brings this action against the Defendant, WELLS FARGO BANK,

  N.A. (“WELLS FARGO or Defendant”), and as grounds thereof would allege as follows:

                                 PRELIMINARY STATEMENT

         1.      This is a civil action seeking monetary relief pursuant to 12 U.S.C. § 2605(f), for

  violations of 12 U.S.C. § 2601 et seq., commonly known as the Real Estate Settlement Procedure

  Act and implementing regulations (“RESPA”), which among other things, regulates the

  procedural process for applications for loan modifications for certain distressed borrowers.

         2.      As is more fully explained below, WELLS FARGO, in its capacity of servicer of

  Brosnick’s mortgage loan, purposefully and with aforethought, falsely represented to Brosnick

  that if he entered into a consent judgment of foreclosure with WELLS FARGO, it would

  cooperate with Brosnick to modify his mortgage.
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 2 of 23



         3.      Instead, once WELLS FARGO obtained its consent judgment of foreclosure,

  WELLS FARGO systematically set about to intentionally violate RESPA to summarily deny

  Brosnick’s application for loan modification.

         4.      WELLS FARGO systematically replaced its representatives, Home Preservation

  Specialist, once Brosnick had provided all documents requested to avoid having to form an

  evaluation on Brosnick’s loan modification application; and when that became flagrant, denied

  the loan modification request without a specific reason so as to deny Brosnick the ability to

  mount a decent appeal. These violations of RESPA seemingly gave WELLS FARGO the cover

  it needed to then go forward with the foreclosure of Brosnick’s home.

         5.      Because WELLS FARGO refused to comply with RESPA, Brosnick had to hire

  three sets of lawyers: lawyers to represent him during his application with WELLS FARGO and

  before the trial court; lawyers who are currently representing him in his appeal of the foreclosure

  judgment; and lawyers to represent him before this Court.

         6.      Brosnick has suffered damages as a result of WELLS FARGO’s violation of

  RESPA and Brosnick is entitled to actual and statutory damages.

                            JURISDICTION, VENUE, AND PARTIES

         7.      This Court has subject matter jurisdiction over Plaintiff’s claim under RESPA and

  Regulation X pursuant to 12 U.S.C. § 2614.

         8.      Venue is proper in the United States District for the Southern District of Florida

  under 12 U.S.C. § 2614 because it is the district in which the property is located.

         9.      At all times material hereto, Plaintiff was and is a resident of Broward County,

  Florida, and owns a home located at 2933 Birch Terrace, Davie, Florida 33330, which is the

  Plaintiff’s primary and only residence in Broward County.



                                                   2
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 3 of 23



         10.     At all times material hereto, Defendant, WELLS FARGO BANK, N.A., was and

  is a national banking institution chartered and supervised by the Office of the Comptroller of the

  Currency, an agency of the U.S. Treasury Department, pursuant to the National Bank Act, duly

  licensed to transact business in the State of Florida, with a principal address of 420 Montgomery

  Street, San Francisco, CA 94104, and lists its registered agent for service of process in the State

  of Florida as Corporation Service Company, 1201 Hays Street, Tallahassee, FL 32301.

                                               RESPA

  RESPA Applies to WELLS FARGO

         11.     In January 2013, the Consumer Finance Protection Bureau (“CFPB”) issued a

  number of final rules concerning mortgage markets in the United States, pursuant to the Dodd-

  Frank Wall Street Reform and Consumer Protection Act (“DFA”), Public Law No. 111-203, 124

  Stat. 1376 (2010).

         12.     On July 10, 2013, the CFPB issued mortgage rules under Regulation X pursuant

  to its authority under the DFA. Regulation X became effective on January 10, 2014. 12 C.F.R. §

  1024. Regulation X is the implementing regulation of RESPA and applies to all loan servicers

  who service a federally related mortgage loan.

         13.     Defendant is a loan “servicer” of the Plaintiff’s “federally related mortgage loan”

  as those terms are defined in RESPA. 12 U.S.C. §§ 2602(1) and 2605(i)(2). Defendant engages

  in the following activities: receives payments from consumers and is responsible for distributing

  those payments to the investors who own the consumer’s loans and, when the consumer’s loans

  include escrow accounts, to the consumer’s taxing authorities or insurance companies. Thus, the

  Defendant is subject to the servicing requirements provided for in RESPA and Regulation X.




                                                   3
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 4 of 23



         14.      RESPA and Regulation X are applicable to all “federally related mortgage loans,”

  which include any loans secured by a first or subordinate lien on residential real property upon

  which a one-to-four family structure is located and which is made in whole or in part by any

  lender that is either regulated by or whose deposits or accounts are insured by an agency of the

  Federal Government. See 12 C.F.R. § 1024. WELLS FARGO is regulated by federal agencies

  and its deposits are insured by a federal agency.        Accordingly, Plaintiff’s mortgage is a

  “federally related mortgage loan” as defined in Regulation X. Id.

         15.      Thus, WELLS FARGO, as the servicer of the Brosnick Mortgage Note is

  therefore subject to Regulation X and the regulations governing Brosnick’s request for loan

  modification.

         16.      Plaintiff asserts a claim for relief against WELLS FARGO for violations of the

  specific rules under Regulation X as set forth below.

         17.      Plaintiff has a private right of action against WELLS FARGO under RESPA

  pursuant to 12 U.S.C. § 2605(f) for the claimed violations and such action provides for remedies

  including actual and statutory damages, attorney’s fees and costs.

  Brief Summary of Relevant RESPA Requirements

         18.      Regulation X requires, among other things, that a servicer follow certain

  procedures once a borrower requests loss mitigation assistance.

         19.      The CFPB has mandated a procedural framework within which the evaluation of

  loss mitigation must take place.

         20.      Borrowers have a private right of action for, among other things, a servicers

  failure to give required notices, including when an application is complete, failure to reasonably

  evaluate applications in accordance with required time frames, failure to refrain from continuing



                                                  4
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 5 of 23



  the foreclosure process during certain periods of the loss mitigation review process, and in the

  event of a denial of the application, failure to give specific reason(s) for such denial so as to

  enable the borrower to mount a bona fide appeal under the RESPA appeal process.

         21.    Defendant has violated these RESPA procedures and Plaintiff is entitled to actual

  and statutory damages for such violations.

                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

  Foreclosure of the Brosnick Mortgage Note

         22.    On or about September 6, 2005, Glenn and Karin Brosnick executed and

  delivered a Promissory Note (“Mortgage Note”) and a Purchase Money Mortgage securing the

  payment of the Mortgage Note in the amount of $625,000.00. The Mortgage Note was recorded

  on September 21, 2005, in Official Records Book 40541 at Page 1728, of the Public Records of

  Broward County, Florida, giving rise to a mortgage lien on Brosnick’s family residence. The

  originator of the Mortgage Note was GL Financial Services.

         23.    WELLS FARGO is the servicer of the Mortgage Note. (Composite Exhibit A).1

         24.    On or around April 3, 2013, WELLS FARGO filed its Motion for Leave to File

  Amended Mortgage Foreclosure Complaint that was granted in the Florida state court. (Exhibit

  A).

         25.    That case is styled US Bank National Association, As Trustee for GSR 2007-1F

  vs. Glenn Brosnick, et al, Case No.: CACE-09-011876, in the Seventeenth Judicial Circuit Court

  of Florida.




  1
    Plaintiff has attached as exhibits some of the correspondence he had with the Defendant.
  However, certain files related to this Complaint have been corrupted. Many of the emails
  referenced in this Complaint are presently not retrievable. In any event, the missing
  correspondence referred to in this Complaint will be obtained from Defendant during discovery.
                                                 5
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 6 of 23



         26.     On July 9, 2013, Brosnick, with the assistance of the law firm of Michael H.

  Merino, P.A. (“Merino Law”), applied for a loan modification of the Mortgage Note (hereinafter

  referred to as “Loss Mitigation or Modification of Loan”) to WELLS FARGO. (Exhibit B).

         27.     That application was put on hold as a result of Glenn Brosnick’s divorce from his

  wife Karin Brosnick.

         28.     But in August 2014, Merino Law received an email correspondence from Wolfe

  Law PA, WELLS FARGO’S foreclosure firm, offering to settle the case.

         29.     In essence, the letter stated that in exchange for a consent judgment, WELLS

  FARGO was willing to cooperate in its ongoing Loss Mitigation efforts vis-à-vis the Mortgage

  Note to effectuate its modification. Id.

         30.     Based on the representations that WELLS FARGO made in that August 2014

  letter, on October 21, 2014, Brosnick entered into a stipulation of settlement for a consent

  judgment in which WELLS FARGO warranted that it would “cooperate in reviewing [Brosnick]

  for loss mitigation.” (Exhibit C).

         31.     As part of this consent judgment, WELLS FARGO agreed not to seek a

  foreclosure sale date, in part to review the application for loss mitigation and determine what

  options were available to Brosnick. Id.

         32.     On October 22, 2014, Brosnick entered into a consent judgment with WELLS

  FARGO to, among other things, delay the foreclosure sale and for WELLS FARGO to determine

  what loss mitigation options were available to him.

  First Home Preservation Specialist

         33.     On January 13, 2015, the initial loss mitigation application package was sent to

  WELLS FARGO Home Preservation Department (“Preservation Department”).



                                                  6
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 7 of 23



         34.     The package included, among other things, tax returns, profit and loss statements,

  bank statements, and a hardship letter.

         35.     Two days later, on January 13, 2015, a letter was sent to Brosnick informing him

  that he was being evaluated for a Loan Modification under the Home Affordable Modification

  Program, the federal government program that targeted aid to home owners in states hardest hit

  by the 2008 economic crises to prevent foreclosure (Exhibit D).

         36.     This letter indicated that if Brosnick successfully completed a trial period plan

  that WELLS FARGO would offer him a permanent modification of the Mortgage Note. Id.

  Brosnick never received a trial period plan for any option.

         37.     Despite receiving this application, and in spite of RESPA Regulations prohibiting

  dual tracking (i.e., pursuing the foreclosure while evaluating an application for Loss Mitigation),

  WELLS FARGO moved on at least two occasions for orders setting a foreclosure sale before

  issuing its Loss Mitigation determination.

         38.     On January 16, 2015, WELLS FARGO Home Preservation Specialist Evangelina

  Parra (“Specialist Parra”), sent Brosnick a letter stating that the Preservation Department had

  received his documentation and would carefully evaluate them to determine whether he was

  eligible for a loan modification. Specialist Parra further stated that if Brosnick were eligible, he

  would receive a trial period plan. WELLS FARGO did not indicate whether the application was

  complete or incomplete.

         39.     On January 21, 2015, Merino Law spoke to Specialist Parra who stated that the

  documents were in underwriting.

         40.     On January 30, 2015, Brosnick received a letter from Specialist Parra requesting

  more information. Brosnick provided that information.



                                                   7
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 8 of 23



         41.     On February 10, 2015, Specialist Parra confirmed that they had received the

  requested documents.

         42.     On March 9, 2015, Specialist Parra sent Brosnick a letter requesting additional

  documents.

         43.     On March 10, 2015, Brosnick provided to Specialist Parra the requested

  documents (Exhibit E).

         44.     On March 12, 2015, after this final submission of documents to Specialist Parra,

  WELLS FARGO informed Brosnick that it had replaced his Home Preservation Specialist

  (Exhibit F).

  Second Home Preservation Specialist

         45.     In the March 15, 2015 letter, WELLS FARGO informed Brosnick that his new

  Home Preservation Specialist was Christopher Reagan, but that letter did not request any new

  documents or information; nor did the letter state that additional requests for information may be

  forthcoming. Id.

         46.     As a result, on March 30, 2015, Merino Law contacted WELLS FARGO and was

  advised that no new information was required.

         47.     But on April 2, 2015, and more than 25 days since the last request for documents,

  Plaintiff received a letter from Specialist Reagan requesting information (Exhibit G).

         48.     On April 10, 2015, Brosnick provided all of the information and additional

  documentation requested to Specialist Reagan (Exhibit H).

         49.     On or about April 13, 2015, Brosnick received a letter from Specialist Reagan

  indicating that WELLS FARGO had received the documentation requested. (Exhibit I). The

  letter further stated that additional information and documentation may still be required. Id. The



                                                  8
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 9 of 23



  letter stated that WELLS FARGO would not conduct a foreclosure sale on the Mortgage Loan

  while the documents were under review. Id.

         50.      On April 21, 2015, Merino Law spoke to Specialist Reagan who again requested

  additional information.     He requested a 2014 year-to-date profit and loss statement for

  Brosnick’s company.

         51.      On April 22, 2015, WELLS FARGO in contravention of Regulation X engaged in

  the prohibited dual tracking and moved for an order setting a foreclosure sale while it was

  considering Brosnick’s request for Loan Modification. (Exhibit J)

         52.      On May 14, 2015, Brosnick’s 2014 year-to-date profit and loss statement was sent

  to Specialist Reagan. (Exhibit K).

         53.      On or about May 20, 2015, Brosnick received another letter acknowledging

  receipt of the documentation. The letter again stated that WELLS FARGO would not conduct a

  foreclosure sale while it was reviewing the documents; yet, WELLS FARGO had moved the

  court to set the date for a foreclosure sale. (Exhibit L).

         54.      On May 28, 2015, Merino Law called WELLS FARGO to inquire as to the status

  of the application for Loan Modification. Merino Law was informed by Nathan Tweed that the

  file was currently in underwriting and that it was in “servicer decision” status. This statement by

  WELLS FARGO’s representative clearly indicated that the application for Loan Modification

  was complete.

         55.      But yet again, on June 15, 2015, WELLS FARGO requested more information.

  (Exhibit M).

  Third Home Preservation Specialit




                                                    9
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 10 of 23



            56.   On July 3, 2015, Brosnick was informed that his Home Preservation Specialist

  had been replaced.     WELLS FARGO Home Preservation Specialist Susan Hartman, who

  replaced Specialist Reagen, requested more information to that requested in the June 15, 2015

  letter.

            57.   On July 8, 2015, Brosnick sent to WELLS FARGO the information requested in

  the June 15, 2015 letter.

            58.   On or about July 9, 2015, Brosnick received a letter from Specialist Hartman

  acknowledging that she had received the documentation that she requested. (Exhibit N). In that

  letter, WELLS FARGO indicated that it would not conduct a foreclosure sale on the loan while

  the documents were being reviewed despite having moved for an order to set a date for the

  foreclosure sale in contravention of RESPA.

            59.   On July 23, 2015, Merino Law received a call yet again from Specialist Hartman

  requesting further explanations, clarifications, and additional documents.

            60.   Brosnick provided the documents and information. (Exhibit O)

            61.   On July 27, 2015, Brosnick received another letter from Specialist Hartman

  acknowledging that WELLS FARGO had received the documentation requested, and, like

  always, that a foreclosure sale would not be conducted while the documents were being reviewed

  by WELLS FARGO. (Exhibit P).

            62.   On or about August 3, 2015, Brosnick received another letter from Specialist

  Hartman requesting more information (Exhibit Q).          She requested approximately 17 new

  documents. Id.




                                                  10
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 11 of 23



         63.     On August 18, 2015, WELLS FARGO, in contravention of Regulation X,

  engaged in the prohibited dual tracking and moved for an order setting a foreclosure sale while it

  was considering Brosnick’s request for Loan Mitigation. (Exhibit R)

         64.     On August 24, 2015, Merino Law spoke with Specialist Hartman seeking

  clarification on a few documents and/or information that she requested.

         65.     Then on August 27, 2015, 50 pages of documentation was sent to Specialist

  Hartman that provided a response that included detailed explanations, clarifications requested,

  and additional documents. (Exhibit S)

         66.     On August 28, 2015, Specialist Hartman sent a letter acknowledging receipt of the

  information and documentation. She also indicated that WELLS FARGO would not conduct a

  foreclosure sale during the review of the information and documentation. (Exhibit T)

  Fourth Home Preservation Specialist

         67.     On September 4, 2015, Brosnick received a letter from WELLS FARGO

  informing him that they were replacing, yet again, his Home Preservation Specialist with Latoya

  Johnson. (Exhibit U)

         68.     On September 10, 2015, Merino Law contacted WELLS FARGO to request the

  status of the application for loan modification and for it to confirm receipt of the information and

  documentation that was sent on August 27, 2015. The representative of WELLS FARGO

  confirmed receipt of this information and documentation and stated that the file was under

  review and that no additional documentation was needed.           This statement meant that the

  application was complete per RESPA.




                                                  11
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 12 of 23



         69.    On September 14, 2015, Brosnick received a letter from WELLS FARGO, along

  with an appraisal indicating that the value of the subject property was $1,269,000.00. More than

  $644,000.00 more than the principal of the loan.

         70.    Since August 3, 2015, Brosnick did not receive any request for further

  information and documentation from Specialists Hartman and Johnson or from WELLS

  FARGO. Consequently, WELLS FARGO refused to provide to Brosnick the written notice

  required by RESPA that the application was complete.

  Denial Letter Lacking a Specific Reason

         71.    On September 18, 2015, after sending WELLS FARGO reams of information and

  documentation and 9 months of back and forth, Brosnick received a denial letter from WELLS

  FARGO which stated that the Loan Modification had been denied due to the borrower not

  providing the lender with valid documents as requested.

         72.    None of WELLS FARGO’s correspondence questioned the validity of the

  documents that Brosnick provided.

         73.    None of the Home Preservation Specialist ever questioned the validity of the

  documents that Brosnick provided.

         74.    None of the WELLS FARGO representatives that Merino Law spoke with ever

  questioned the validity of the documents that Brosnick provided.

         75.    In shock, Merino Law immediately contacted WELLS FARGO and spoke with a

  representative by the name of Joe Simon who advised that the application for Loan Modification

  was denied due to “discrepancies contained within the documents” with no specific reason or

  reasons or other information as to why there were discrepancies.




                                                 12
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 13 of 23



         76.     This letter also indicated that a borrower had a right to appeal the WELLS

  FARGO decision if the borrower believed that the decision was incorrect.

         77.     However, since WELLS FARGO did not provide Brosnick with any specific

  reason why the application for Loan Modification was denied, other than to say the documents

  were not valid, it was near impossible to mount a reasonable appeal. WELLS FARGO did not

  even indicate which of the reams of documentation was invalid, so that Brosnick could

  demonstrate to WELLS FARGO that the documents were in fact valid.

         78.     Irrespective of WELLS FARO’s woefully vague denial, on September 29, 2015,

  Brosnick appealed the decision as best as he could by providing WELLS FARGO with IRS

  certified forms for each of his businesses, although it was like throwing darts in the dark, hoping

  that these documents would demonstrate the validity of whatever document that WELLS

  FARGO deemed were not valid.

  Fifth Home Preservation Specialist

         79.     On October 7, 2015, WELLS FARGO appointed Brosnick to another Home

  Preservation Specialist by the name of Ashley Schindler.

         80.     On October 13, 2015, Brosnick received a letter from WELLS FARGO stating

  that the appeal had been received and that they were in the process of reviewing the appeal.

         81.     During that time, Specialist Schindler did not request any documents or

  information from Brosnick.

         82.     Specialist Schindler did not send any letters to Brosnick.

         83.     There was no additional information or documentation for Specialist Schindler to

  request of Brosnick that was not already in his file.

  Denial of the Appeal for a Different Reason Other than the One given
  in the September 15, 2015 Denial Letter

                                                   13
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 14 of 23




         84.     Two days later, on October 15, 2015, WELLS FARGO sent a letter to Brosnick

  stating that they had carefully researched the matter and that they did not make a mistake

  removing Brosnick’s account from the modification review process. But what was more

  confounding than the insufficient reason given in the denial letter was that the denial of the

  appeal gave a different reason from the initial denial.

         85.     The appeal denial indicated that Brosnick’s application for Loan Modification

  was not because of discrepancies in the documents provided, but because he did not provide

  information and documents requested in a timely manner.

         86.     Had WELLS FARGO stated that reason in its initial denial letter, Brosnick would

  have provided WELLS FARGO with irrefutable proof that it was in error regarding the

  timeliness of Brosnick’s responses to request, by the five (5) different Home Preservation

  Specialist.

         87.     Since WELLS FARGO’s denial of the appeal, Brosnick has been defending

  against the foreclosure of his home and has even appealed the matter to the Florida Fourth

  District Court of Appeals.

         88.     Based upon the allegations within this Complaint, WELLS FARGO’s actions

  exhibit and are believed to be a pattern and practice of behavior in reckless disregard for

  Brosnick’s rights.

         89.     Brosnick has had to spend money in the form of gas, mileage, postage, and

  attorney’s fees because of WELLS FARGO’s actions described above. Brosnick has had to

  drive 10.4 miles for a round trip to Merino Law for each in person meeting related to this matter,

  of which there have been many. The law firm of Michael H. Merino, P.A. has spent in excess of




                                                   14
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 15 of 23



  Fifty One Thousand Three Hundred and Thirty Nine Dollars ($51,339.00) related to the matters

  discussed within this Complaint.

         90.     Brosnick has also had to hire the law firm of Stephen R. Verbit, P.A. to appeal the

  judgment of foreclosure before the Florida Fourth District Court of Appeals. The law firm of

  Stephen R. Verbit has spent in excess of Thirty Three Thousand Three Hundred and Thirty One

  Thousand Dollars ($33,331.00) related to the matters discussed within this Complaint.

         91.     At all times relevant to this action, and at the present time and for the foreseeable

  future, Plaintiff has suffered and continues to suffer emotional distress that has, and continues to

  have, profound negative consequences on Plaintiff’s day-to-day activities and Plaintiff’s ability

  to have peaceful wellbeing as a direct result of Defendant’s refusal to comply with RESPA.

                                 COUNT ONE:
                      VIOLATION OF 12 C.F.R. 1024.41(b)(2)(B)
                REAL ESTATE SETTLEMENT AND PROCEDURES ACT
           FAILURE TO STATE WHETHER LOSS MITIGATION APPLICATION
                         IS COMPLETE OR INCOMPLETE

         92.     Plaintiff restates and incorporates herein all of the statements and allegations

  contained in the preceding paragraphs 1 through 91 in their entirety, as if fully rewritten herein.

         93.     Pursuant to 12 C.F.R. § 1024.41(b)(2)(B), the Defendant was obligated to notify

  the Plaintiff in writing within five (5) days after receiving his loss mitigation application that: (i)

  the servicer acknowledged receipt of the loss mitigation application and (ii) whether the loss

  mitigation application was either complete or incomplete.

         94.     The purpose of 12 C.F.R. § 1024.41 is to assist consumers in attempting to

  modify their mortgage loans in order to save their homes. On January 13, 2015, the Defendant

  received the Plaintiff’s loss mitigation application.




                                                    15
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 16 of 23



            95.    The Defendant was obligated to comply with the above noted five (5) day

  deadline within 21 C.F.R. § 1024.41(b)(2)(B) by January 18, 2015.

            96.    On January 16, 2015, the Defendant sent a letter to the Plaintiff stating that the

  Plaintiff’s loss mitigation application was in underwriting without stating whether the Plaintiff’s

  loss mitigation application was complete or incomplete.

            97.    The Defendant’s failure to comply with the requirements of 12 C.F.R. §

  1024.41(b)(2)(B) by the January 18, 2015 deadline was a willful violation of the protections

  afforded to homeowners pursuant to § 1024.41.

            98.    This failure to comply with the requirements of 12 C.F.R. § 1024.41(b)(2)(B) is

  but one example of the multiple violations of this section set forth in the general allegations of

  this Complaint, and, by virtue of paragraph 92, are all incorporated into Count One.

            99.    Based upon the allegations within this Complaint, the Defendant’s actions exhibit

  and are believed to be a pattern and practice of behavior in reckless disregard for Plaintiff’s

  rights.

            100.   As a result of the Defendant’s actions, the Defendant is liable to the Plaintiff for

  actual damages, statutory damages of up to $2,000.00, costs and attorney’s fees pursuant to 12

  U.S.C. § 2605.

            WHEREFORE, Plaintiff is entitled to recover his actual damages that resulted from the

  Defendant’s violation of law, including but not limited to the following: (a) photocopying and

  certified mail expenses to ensure Defendant’s compliance with Regulation X throughout the loss

  mitigation process; (b) cost of traveling to and from attorney’s office incurred as a result of

  having to send additional correspondence due to Defendant’s failure to comply with Regulation

  X; (c) extra cost and fees assessed to mortgage balance due to Defendant’s failure to comply



                                                    16
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 17 of 23



  with Regulation X; (d) lost wages from missed work in connection with Plaintiff’s efforts to save

  his home due to Defendant’s failure to comply with Regulation X; (e) emotional distress caused

  by Defendant’s blatant and willful violation of the Plaintiff’s rights under Regulation X; and (f)

  attorney’s fees and costs expended by the Plaintiff to get Defendant to otherwise comply with

  Regulation X.

                                COUNT TWO
                       VIOLATION OF 12 C.F.R. § 1024.41(g)
                  REAL ESTATE SETTLEMENT PROCEDURES ACT
             MOVING FOR FORECLOSURE SALE WHILE PLAINTIFF’S LOSS
                 MITIGATION APPLICATION WAS UNDER REVIEW
                             “DUAL-TRACKING”

         101.     Plaintiff restates and incorporates herein all of the statement and allegations

  contained in the preceding paragraphs 1 through 91 in its entirety, as if fully rewritten herein.

         102.     Pursuant to 12 C.F.R. § 1024.41(g), if a borrower submits a complete loss

  mitigation application after the servicer has made the filing required by applicable law for a

  judicial foreclosure but more than 37 days before a foreclosure sale, a servicer shall not move for

  an order of sale, unless:

             “(1) The servicer has sent the borrower a notice pursuant to paragraph
             (c)(1)(ii) of this section that the borrower is not eligible for any loss mitigation
             option and the appeal process in paragraph (h) of this section is not applicable,
             the borrower has not requested an appeal within the applicable time period for
             requesting an appeal, or the borrower’s appeal has been denied;
             (2) The borrower rejects all loss mitigation options offered by the servicer; or
             (3) The borrower fails to perform under an agreement on a loss mitigation
             option.”

         103.     A “[c]omplete loss mitigation application is defined as an application in

  connection with which a servicer has received all the information that the servicer requires from

  a borrower in evaluating applications for the loss mitigations options available to the borrower.”

  12 C.F.R. § 1024.41(b)(1).



                                                   17
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 18 of 23



         104.    If the servicer finds the application is incomplete, then it must state which

  additional documents are needed to complete the loss mitigation application and provide a

  reasonable date by which the borrower must submit the documents in that same written notice.

  12 C.F.R. § 1024(b)(2).

         105.    And pursuant to 12 C.F.R. § 1024.41(c)(2)(iv):

         “If a borrower submits all the missing documents and information as stated in the
         notice required pursuant to 12 C.F.R. § 1024.41(b)(2)(i)(B), or no additional
         information is requested in such notice, the application shall be considered
         facially complete. If the servicer later discovers additional information or
         corrections to a previously submitted documents are required to complete the
         application, the servicer must promptly request the missing information or
         corrected documents and treat the application as complete for purposes of
         paragraphs ((f)(2) and (g) of this section until the borrower is given a reasonable
         opportunity to complete the application.” (Emphasis added).

         106.    Because Specialist Parra’s January 16, 2015 letter did not request additional

  information, Brosnick’s application, at that time, must be considered to have been facially

  complete.

         107.    Accordingly, as of January 16, 2015, Brosnick had submitted a facially complete

  loss mitigation application and was entitled to the foreclosure protections found in 12 C.F.R. §

  1024.41(g).

         108.    Section 1024.41(g) provides that where a borrower submits a complete loss

  mitigation application after the servicer has filed the judicial foreclosure process but more than

  37 days before the foreclosure sale, the servicer shall not move for an order of sale, unless:

         “(1) The servicer has sent the borrower a notice pursuant to paragraph (c)(1)(ii) of
         this section that the borrower is not eligible for any loss mitigation option and the
         appeal process in paragraph (h) of this section is not applicable, the borrower has
         not requested an appeal within the applicable time period for requesting an
         appeal, or the borrower’s appeal has been denied;
         (2) The borrower rejects all loss mitigation options offered by the servicer; or
         (3) The borrower fails to perform under an agreement on a loss mitigation
         option.”

                                                   18
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 19 of 23




         109.     None of the three exceptions described above from § 1024.41(g) apply, so as of

  January 13, 2015, when Plaintiff provided his facially complete loss mitigation application to

  Defendant, Defendant was prohibited from moving for an order setting a foreclosure sale while it

  was considering Brosnick’s request for Loan Mitigation.

         110.     Defendant moved for an order setting a foreclosure sale on April 22, 2015 and

  again on August 18, 2015, in violation of § 1024.41(g).

         111.     As a result of the Defendant’s actions, the Defendant is liable to the Plaintiff for

  actual damages, statutory damages of up to Two Thousand Dollars ($2,000.00), costs and

  attorney’s fees pursuant to 12 U.S.C. § 2605.

         WHEREFORE, Plaintiff is entitled to recover his actual damages that result from the

  Defendant’s violation of law, including but not limited to the following: (a) photocopying and

  certified mail expenses to ensure Defendant’s compliance with Regulation X throughout the loss

  mitigation process; (b) cost of traveling to and from attorney’s office incurred as a result of

  having to send additional correspondence due to Defendant’s failure to comply with Regulation

  X; (c) extra cost and fees assessed to mortgage balance due to Defendant’s failure to comply

  with Regulation X; (d) lost wages from missed work in connection with Plaintiff’s efforts to save

  his home due to Defendant’s failure to comply with Regulation X; (e) emotional distress caused

  by Defendant’s blatant and willful violation of the Plaintiff’s rights under Regulation X; and (f)

  attorney’s fees and costs expended by the Plaintiff to get Defendant to otherwise comply with

  Regulation X.




                                                   19
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 20 of 23



                                    COUNT THREE
                           VIOLATION OF 12 C.F.R. § 1024.41(d)
                      REAL ESTATE SETTLEMENT PROCEDURES ACT
                      FAILURE TO PROVIDE PROPER DENIAL NOTICE

           112.   Plaintiff restates and incorporates herein all of the statements and allegations

  contained in the preceding paragraphs 1 through 91 in their entirety, as if fully rewritten herein.

           113.   Section 1024.41(d) provides that if a servicer denies a loss mitigation application,

  the servicer shall state in the notice sent to the borrower the specific reason or reasons for the

  servicers determination.

           114.   On September 18, 2015, Plaintiff received a denial letter from Defendant which

  stated that the loan modification had been denied due to the borrower not providing the lender

  with valid documents as requested.

           115.   As stated in the general allegations, in the course of nine (9) months of

  responding to numerous request for information and documentation with Defendant’s five (5)

  different Home Preservation Specialist, Plaintiff had produced to Defendant reams of

  information and documentation.

           116.   Defendant did not inform Plaintiff which specific document was purportedly not

  valid.

           117.   As such, the Defendant’s September 18, 2015 denial letter failed to comply with,

  and is a violation of, 12 C.F.R. § 1024.41(d).




                                                   20
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 21 of 23



            118.   Based upon the allegations within this Complaint, the Defendant’s actions exhibit

  and are believed to be a pattern and practice of behavior in reckless disregard for the Plaintiff’s

  rights.

            119.   As a result of the Defendant’s actions, the Defendant is liable to the Plaintiff for

  actual damages, statutory damages of up to Two Thousand Dollars ($2,000.00), costs and

  attorney’s fees pursuant to 12 U.S.C. § 2605.

            WHEREFORE, Plaintiff is entitled to recover his actual damages that result from the

  Defendant’s violation of law, including but not limited to the following: (a) photocopying and

  certified mail expenses to ensure Defendant’s compliance with Regulation X throughout the loss

  mitigation process; (b) cost of traveling to and from attorney’s office incurred as a result of

  having to send additional correspondence due to Defendant’s failure to comply with Regulation

  X; (c) extra cost and fees assessed to mortgage balance due to Defendant’s failure to comply

  with Regulation X; (d) lost wages from missed work in connection with Plaintiff’s efforts to save

  his home due to Defendant’s failure to comply with Regulation X; (e) emotional distress caused

  by Defendant’s blatant and willful violation of the Plaintiff’s rights under Regulation X; and (f)

  attorney’s fees and costs expended by the Plaintiff to get Defendant to otherwise comply with

  Regulation X.

                                        PRAYER FOR RELIEF

            WHEREFORE, the Plaintiff, Glenn Brosnick, respectfully asks this Honorable Court to

  enter an order granting the Plaintiff judgment for the following:

                   (i)    Actual damages exceeding One Hundred Thousand Dollars ($100,000.00)

                          for the harm caused by Defendant to the Plaintiff, as detailed above.

                   (ii)   Statutory and punitive damages to be determined at Trial.



                                                    21
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 22 of 23



                 (iii)   Costs associated with and attributable to the Defendant based upon the

  allegations within this Complaint.

                 (iv)    Attorney’s fees and costs associated with the litigation of the instant action.

                         (v)     That the Defendant be ordered to comply with RESPA as it

  services the Plaintiff’s mortgage loan.

                 (vi)    Any such other relief as the Honorable Court may deem just and proper.

                                    DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all issues so triable.

  Dated: March 26th, 2018

                                                 Respectfully submitted,

                                                 __/s/ Michael H. Merino________________
                                                 Michael H. Merino, P.A.
                                                 Attorney for Plaintiff
                                                 6741 Orange Drive
                                                 Davie, Florida 33314
                                                 Tel: (954) 321-7701
                                                 Fax: (954) 791-3024
                                                 Service email: attorneyservice@merinolegal.com


                                                 NICOLEAU | LAW

                                                 Co-Counsel for Plaintiff
                                                 Michael D. Nicoleau, Esq.
                                                 11900 Biscayne Blvd., Suite 805
                                                 Miami, Florida 33181
                                                 Tel.: (305) 438-7883
                                                 Fax.: (786) 475-9022
                                                 Primary email: michael@nicoleaulaw.com
                                                 Secondary email: eservice@nicoleaulaw.com

                                                 By: /s/ Michael Nicoleau__________
                                                 MICHAEL D. NICOLEAU, ESQ.
                                                 Fla. Bar No.: 256810




                                                    22
Case 0:18-cv-60645-FAM Document 1 Entered on FLSD Docket 03/26/2018 Page 23 of 23



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via the

  CM/ECF system this 26th day of March, 2018.



                                                     By: /s/ Michael D. Nicoleau
                                                     MICHAEL D. NICOLEAU, ESQ.
                                                     Fla. Bar No.: 256810
                                                     michael@nicoleaulaw.com




                                                23
